
67 So. 3d 1176 (2011)
Francisco Tito SANTANA, Appellant,
v.
STATE of Florida, Appellee.
No. 2D10-911.
District Court of Appeal of Florida, Second District.
August 17, 2011.
*1177 James Marion Moorman, Public Defender, and Carol J.Y. Wilson, Assistant Public Defender, Bartow, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Cerese Crawford Taylor, Assistant Attorney General, Tampa, for Appellee.
ALTENBERND, Judge.
Francisco Tito Santana appeals the order revoking his probation and the sentence imposed upon the revocation. We affirm but remand with instructions to strike the reference to the violation of condition numbers two and nine from the order revoking probation so that the order conforms to the trial court's oral pronouncement. See Turner v. State, 873 So. 2d 480, 480 (Fla. 2d DCA 2004) ("A written order of revocation of probation must conform with the trial court's oral pronouncement.") (citation omitted).
Affirmed, but remanded with instructions.
NORTHCUTT and KELLY, JJ., Concur.
